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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

RYANAIR DAC, §

Plaintiff, :

v. Civil Action No. 20-1191-WCB
BOOKING.COM B.V.,

Defendant, and Counterclaim :

Plaintiff. ;

VERDICT FORM

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SECTION 1: RYANAIR’S CLAIMS UNDER THE COMPUTER FRAUD AND ABUSE ACT

Part A: Civil Loss

1. Did Ryanair prove by a preponderance of the evidence that Booking.com’s violation of
the CFAA caused Loss to Ryanair totaling at least $5,000 during a one-year period?

if? Yes No

If your answer to that question is “no,” do not answer the remaining questions in Section I.

If your answer to that question questions is “yes,” procced to Section 1, Part B, below.

Part B: Accessing a Protected Computer Without Authorization

1. Did Ryanair prove by a preponderance of the evidence that Booking.com intentionally
directed, encouraged, or induced Etraveli to access the myRyanair portion of Ryanair’s
website without authorization?

ii Yes No

If your answer to that question is “no,” do not answer the next two questions and proceed to
Section 1, Part C, below.

If your answer to that question is “yes,” please answer the following questions:

2. Did Ryanair prove by a preponderance of the evidence that Etraveli recklessly caused
Damage to a protected computer by way of such access to the myRyanair portion of
Ryanair’s website without authorization?

eres ____No

3. Did Ryanair prove by a preponderance of the evidence that Etraveli caused both Damage
to a protected computer and Loss by way of such access to the myRyanair portion of
Ryanair’s website without authorization?

Y_ Yes No
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Part C: Accessing a Protected Computer with Intent to Defraud

1. Did Ryanair prove by a preponderance of the evidence that Booking.com knowingly and
with an intent to defraud, directed, encouraged, or induced a third party to access the
myRyanair portion of Ryanair’s website without authorization and by means of such
conduct furthered the intended fraud and obtained something of value for Booking.com?

bie ____No

If your answer to that question is “no,” do not answer the next two questions and proceed to
Section 1, Part D, below.

If your answer to that question is “yes,” please answer Question 2 below:

2. Was the object of the fraud and the thing of value obtained by Booking.com only the use
of the myRyanair portion of Ryanair’s website?

JS Yes No
If your answer to Question 2 is “no,” proceed to the Section I, Part D, below.
If your answer to Question 2 is “yes,” please answer Question 3, below:

3. Did Ryanair prove by a preponderance of the evidence that the value of the use of the
myRyanair portion of Ryanair’s website was $5,000 or more in a one-year period?

A ves ____No

Part D: Conspiring to Violate the Computer Fraud and Abuse Act

1. Did Ryanair prove by a preponderance of the evidence that Booking.com entered into a
conspiracy with Etraveli to intentionally access the myRyanair portion of Ryanair’s website
in violation of the Computer Fraud and Abuse Act?

Yes ™“ No
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Part E: Computer Fraud and Abuse Act Loss

Did Ryanair prove by a preponderance of the evidence that it suffered actual economic harm
caused by Booking.com violating the Computer Fraud and Abuse Act and, if yes, state the

amount.
es. No
ey OQ =

Proceed to Section 2, below.
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SECTION 2: BOOKING.COM’S COUNTERCLAIMS AGAINST RYANAIR

Part A: Defamation

1. Did Booking.com prove by a preponderance of the evidence that Ryanair defamed
Booking.com?

a

If you answered yes to Question I above, proceed to Question 2 immediately below. If you
answered no, proceed to Part B, below.

Yes No

2. Did Ryanair prove by a preponderance of the evidence that the defamatory
communications about Booking.com were true or substantially true?

Yes No

Part B: Unfair Competition

1. Did Booking.com prove by a preponderance of the evidence each of the elements of its
unfair competition claim against Ryanair?

Yes x

Part C: Tortious Interference with Business Relations

1. Did Booking.com prove by a preponderance of the evidence each of the elements of its
tortious interference with business relations claim against Ryanair?

___ Yes No

Part D: Deceptive Trade Practices

1. Did Booking.com prove by a preponderance of the evidence each of the elements of its
claim against Ryanair under the Delaware Deceptive Trade Practices Act?

Ves VS _No
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Part E: Nominal Damages

1. Ifyou checked yes for any of Parts A through D, please enter nominal damages below in
the amount of one dollar.

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Part F: Punitive Damages

1. If you answered “Yes” to any of the Questions in Section 2 above, what amount of
punitive damages, if any, do you award to Booking.com against Ryanair?

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UNANIMOUS VERDICT

Upon reaching a unanimous verdict on each question above, the foreperson shall sign below.

We, the jury, unanimously agree to the answers to the above questions and return them as our
verdict in this case.

Foreperson
